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                    APPROVAL ORDER
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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


In re:                                                      Chapter 7

Start Man Furniture LLC (f/k/a Art Van                      Case No. 20-10553 (CTG)
Furniture, LLC), et al.,1                                   Jointly Administered

                          Debtors.


Alfred T. Giuliano, solely in his capacity as the
Chapter 7 Trustee of Start Man Furniture LLC
(f/k/a Art Van Furniture, LLC), et al.,

                          Plaintiff,                        Adv. Proc. No. 22-50229 (CTG)

         -against-

Archie A. Van Elslander Trust dated November
26, 1982, as Amended, the Estate of Archie A.
Van Elslander, Gary A. Van Elslander, Gary A.
Van Elslander Revocable Trust, David P. Van
Elslander, Debra A. Van Elslander, Debra A. Van
Elslander Revocable Trust, Kenneth A. Van
Elslander, Kenneth A. Van Elslander Revocable
Trust, Sandra L. Seroka, Karen B. Paglino, Karen
B. Paglino Revocable Trust, Lori J. Webb, Kim
M. Van Elslander a/k/a Kim M. Campau, Kris A.
Scarfone, Beth M. Wood, AV Conner Holdings,                 Re: Docket No.
Inc., VEV Real Estate LLC, and Richard Kim
Yost, and John Does 1-100,

                          Defendants.




1
  The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number,
include: Start Man Furniture, LLC (f/k/a Art Van Furniture, LLC) (9205); SVF Holding Company, Inc. (f/k/a AVF
Holding Company, Inc.) (0291); SVCE, LLC (f/k/a AVCE, LLC) (2509); StartVF Holdings I, LLC (f/k/a AVF
Holdings I, LLC) (2537); StartVF Holdings II, LLC (f/k/a AVF Holdings II, LLC) (7472); SVF Parent, LLC (f/k/a
AVF Parent, LLC) (3451); Levin Parent, LLC (8052); Start Man Furniture of Canada, LLC (f/k/a Art Van Furniture
of Canada, LLC) (9491); SV Sleep Franchising, LLC (f/k/a AV Pure Sleep Franchising, LLC) (8968); SVF
Franchising, LLC (f/k/a AVF Franchising, LLC) (6325); LF Trucking, Inc. (1484); Sam Levin, Inc. (5198); and
Comfort Mattress LLC (4463).
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    ORDER APPROVING THE SETTLEMENT AGREEMENT AND MUTUAL RELEASE
     BETWEEN AND AMONG THE CHAPTER 7 TRUSTEE AND VARIOUS OTHER
     PARTIES RESOLVING CLAIMS AGAINST CERTAIN INSIDERS AND OTHERS


          Upon the Motion2 of Alfred T. Giuliano, the Chapter 7 Trustee (the “Trustee”) of the

bankruptcy estates of the above-captioned Debtors, for entry of an order pursuant to sections

105(a) and 362(d) of the Bankruptcy Code and Rule 9019 of the Federal Rules of Bankruptcy

Procedure authorizing and approving the Settlement Agreement and Mutual Release substantially

in the same form as attached hereto as Exhibit 1 (the “Settlement Agreement”) between and

among the Trustee, solely in his capacity as the Trustee for the bankruptcy estates of the Debtors,

and the non-Debtor Parties,; and upon consideration of the Motion and all filings related thereto;

and the Court finding that (a) the Court has jurisdiction over this matter pursuant to 28 U.S.C.

§§ 157 and 1334, (b) this matter is a core proceeding within the meaning of 28 U.S.C.

§ 157(b)(2), (c) notice of the Motion was due and proper under the circumstances, and (d) the

entry of this Order is in the best interests of the Estates, creditors, and other parties in interest;

and any objections or responses to the Motion having been resolved, withdrawn, or overruled by

the Court; and upon all of the proceedings had before the Court; and after due deliberation, and

good and sufficient cause appearing therefor;

          IT IS HEREBY ORDERED THAT:

          1.       The Motion is GRANTED as set forth herein.

          2.       The Trustee is authorized to enter into the Settlement Agreement, the terms of

which are hereby approved in their entirety. The Trustee is authorized to make any non-material

changes to the Settlement Agreement as agreed to between the Parties.
2
    Unless otherwise defined herein, all capitalized terms shall have the meanings ascribed to them in the Motion.


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       3.       The Trustee is hereby authorized to implement the terms of the Settlement

Agreement.

       4.       The Trustee is hereby authorized to pay the Estates’ share of the Mediator’s fees

and expenses.

       5.       To the extent necessary, relief is hereby granted from the automatic stay pursuant

to 11 U.S.C. § 362(d) to enable National Union to make any payments required to be made by

National Union under the Settlement Agreement or the Insurance Policies.

       6.       This Court shall retain jurisdiction over all matters arising from or relating to the

Settlement Agreement and/or the interpretation, implementation, or enforcement of this Order.




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                        EXHIBIT 1

                    Settlement Agreement
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                   SETTLEMENT AGREEMENT AND MUTUAL RELEASE

                                                     I.
                                                  PARTIES

        This SETTLEMENT AGREEMENT AND MUTUAL RELEASE (“Settlement
Agreement”) is entered into as of July __, 2023, by and among (i) Alfred T. Giuliano, solely in
his capacity as chapter 7 trustee (the “Plaintiff” or “Trustee”) of the bankruptcy estates of Start
Man Furniture LLC (f/k/a Art Van Furniture, LLC) and its affiliated debtors (collectively, the
“Debtors”)1; (ii) Thomas H. Lee Partners, L.P., Thomas H. Lee Management Co., THL
Managers VII LLC, Thomas H. Lee Parallel (Cayman) Fund VII, L.P., Thomas H. Lee Equity
Fund VII, L.P., Thomas H. Lee Parallel Fund VII, L.P., Thomas H. Lee Fund VI Coinvestment
Partners LP, and THL Executive Fund VII (collectively, the “THLee Entity Parties”), (iii) Todd
M. Abbrecht, Jeff T. Swenson, Cliff Longley, Douglas A. Haber, Alex Smith, and David
Alexander (collectively, the “THLee Director Parties” and together with the THLee Entity
Parties, the “THLee Parties”); (iv) Gary A. Van Elslander (the “VE Director”); (v) Archie A.
Van Elslander Trust dated November 26, 1982, as Amended, the Estate of Archie A. Van
Elslander, Mary Ann Van Elslander, the Mary Ann Van Elslander Trust Agreement dated
9/26/1997, as amended, the Archie A. Van Elslander Marital Trust dated 11/26/1982, Gary A.
Van Elslander Revocable Trust, David P. Van Elslander, Debra A. Van Elslander, Debra A. Van
Elslander Revocable Trust, Kenneth A. Van Elslander, Kenneth A. Van Elslander Revocable
Trust, Sandra L. Seroka, Karen B. Paglino, Karen B. Paglino Revocable Trust, Lori J. Webb,
Kim M. Van Elslander a/k/a Kim M. Campau, Kris A. Scarfone, Beth M. Wood, AV Conner
Holdings, Inc., and VEV Real Estate LLC (collectively, the “VE Entities” and together with the
VE Director, the “VE Parties”); and (vi) Richard Kim Yost (“Yost”). Each of the foregoing may
be referred to herein as a “Party” and collectively as the “Parties.” This Settlement Agreement is
based on the following facts:

                                                    II.
                                                 RECITALS

      WHEREAS, prior to the Petition Date (defined below), the Debtors operated a furniture
and mattress retail business (the “Company”) headquartered in Warren, Michigan.

        WHEREAS, effective as of March 1, 2017 (the “Closing Date”), Archie A. Van
Elslander, the Archie A. Van Elslander Trust dated November 26, 1982, and other individuals or
entities affiliated with the Van Elslander family sold their equity interests in the Company,
together with certain related real properties and other assets, to certain entities affiliated with
Thomas H. Lee Partners, L.P. (the “Sale Transaction”);

1
  The Debtors, along with the last four digits of each Debtor’s federal tax identification number, are: Start Man
Furniture, LLC (f/k/a Art Van Furniture, LLC) (9205); SVF Holding Company, Inc. (f/k/a AVF Holding Company,
Inc.) (0291); SVCE, LLC (f/k/a AVCE, LLC) (2509); StartVF Holdings I, LLC (f/k/a AVF Holdings I, LLC)
(2537); StartVF Holdings II, LLC (f/k/a AVF Holdings II, LLC) (7472); SVF Parent, LLC (f/k/a AVF Parent, LLC)
(3451); Levin Parent, LLC (8052); Start Man Furniture of Canada, LLC (f/k/a Art Van Furniture of Canada, LLC)
(9491); SV Sleep Franchising, LLC (f/k/a AV Pure Sleep Franchising, LLC) (8968); SVF Franchising, LLC (f/k/a
AVF Franchising, LLC) (6325); LF Trucking, Inc. (1484); Sam Levin, Inc. (5198); and Comfort Mattress LLC
(4463).
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       WHEREAS, proceeds of the Sale Transaction (the “Sale Proceeds”) were distributed to
various parties, including certain VE Parties and Yost;

        WHEREAS, following the Closing Date, certain of the THLee Entity Parties directly or
indirectly owned or managed the Company;

        WHEREAS, nearly all of the THLee Director Parties2 and the VE Director served on
certain of the Debtors’ boards of directors at various times between the Closing Date and the
bankruptcy filing. Yost served on some of the Debtors’ board of directors at various times
between the Closing Date and the bankruptcy filing;

       WHEREAS, on March 8, 2020 (the “Petition Date”), each of the Debtors filed a
voluntary petition for relief under chapter 11 of title 11 of the United States Code (the
“Bankruptcy Code”) with the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court”), under lead case no. 20-10553 (CTG);

       WHEREAS, on or about April 7, 2020, the Debtors’ chapter 11 cases were converted to
cases under chapter 7 of the Bankruptcy Code and the Trustee was appointed as the Chapter 7
Trustee of the Debtors’ estates;

        WHEREAS, on March 7, 2022, the Trustee commenced an adversary proceeding against
a number of individuals and entities affiliated with the Van Elslander family, among others, and
Yost, entitled Giuliano v. Archie A. Van Elslander Trust dated November 26, 1982, as Amended,
et al., Adv. Pro. No. 22-50229 (CTG) (Bankr. D. Del.) (the “Adversary Proceeding”), asserting
various claims, including fraudulent transfer and breach of fiduciary duty claims (collectively,
the “Adversary Claims”);

      WHEREAS, the Trustee has asserted that the Debtors’ estates have certain claims against
the THLee Parties (collectively, the “THLee Claims”);

       WHEREAS, the Trustee did not file a complaint against the THLee Parties, as they
entered into certain tolling agreements with the Trustee;

       WHEREAS, the VE Parties and Yost deny and vigorously dispute any claims asserted in
the Adversary Proceeding and any liability for the claims or any wrongdoing associated
therewith;

       WHEREAS, the THLee Parties deny and vigorously dispute any claims asserted by the
Trustee and any liability for the THLee Claims or any wrongdoing associated therewith, or
otherwise arising from the THLee Parties’ relationship with the Debtors;

       WHEREAS, the VE Director, Yost, and the THLee Director Parties had certain insurance
coverage provided by National Union Fire Insurance Company of Pittsburgh, Pa. (“National
Union”) under one or more of the following policies in connection with certain claims, including


2
  Todd M. Abbrecht, who served on the board of directors of AVF Holding Company, Inc. prior to the Closing Date,
resigned on the Closing Date in connection with the transactions effectuated on that date.


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any breach of fiduciary duty claims: (i) Policy No. 01-248-40-21, and (ii) Policy No. 01-229-47-
55 (collectively, the “Insurance Policies”);

      WHEREAS, the Parties agreed to participate in mediation with JAMS, led by Jed
Melnick, which commenced on December 19, 2022 and continued for several months (the
“Mediation”);

       WHEREAS, prior to the Mediation, the Trustee and the THLee Parties negotiated a
settlement regarding any claims not covered by the Insurance Policies (the “THLee Settled
Claims”);

       WHEREAS, at the conclusion of the Mediation, the Parties reached an agreement on a
settlement of the Adversary Proceeding and full and final resolution of all claims on the terms
and conditions set forth herein (the “Settlement Agreement”);

        WHEREAS, (i) the Trustee, the VE Parties, and Yost have determined that it is in their
respective best interests to resolve the disputes among them related to the Adversary Proceeding
and (ii) the Trustee and the THLee Parties have determined that it is in their respective best
interests to resolve the disputes among them related to the THLee Claims (including the THLee
Settled Claims) or the THLee Parties’ relationship with the Debtors, in each case pursuant to the
terms and conditions set forth herein; and

       NOW THEREFORE, in consideration of the foregoing recitals, each of which is true and
which are incorporated into and made an integral part of this Settlement Agreement, and the
terms and conditions hereinafter set forth, the Parties hereby agree as follows:

                                            III.
                                        AGREEMENT

        1.     Recitals Incorporated. The foregoing recital paragraphs are incorporated herein
by reference and agreed to by the Parties as if fully set forth at length.

       2.      Settlement Payments. Within ten (10) days after the date on which an order of the
Bankruptcy Court approving this Settlement Agreement pursuant to Federal Rule of Bankruptcy
Procedure 9019 (“Approval Order”) becomes a final, non-appealable order, the VE Director,
Yost and the THLee Director Parties shall cause National Union to pay: (a) to the Trustee, the
sum of (i) Seven Million Five Hundred Thousand And 00/100 Dollars (US $7,500,000.00)
(the “Insurance Settlement Payment”) and (ii) Four Hundred Thirty-Five Thousand And
00/100 Dollars (US $435,000.00) (the “THLee Defense Cost Reimbursement”); (b) to such
payee as designated by the VE Parties, the sum of One Million Five Hundred Thousand And
00/100 Dollars (US $1,500,000.00) (the “VE Defense Cost Reimbursement”); (c) to Yost the
sum of Eighteen Thousand Nine Hundred Forty Four And 99/100 Dollars (US $18,944.99)
(the “Yost Defense Cost Reimbursement”), and the THLee Parties shall pay to the Trustee the
sum of Sixty-Five Thousand And 00/100 Dollars (US $65,000.00) (the “THLee Contribution”).
The Insurance Settlement Payment, the THLee Defense Cost Reimbursement and the THLee
Contribution shall be paid by wire transfer or electronic funds transfer (EFT) to the Trustee,
pursuant to instructions to be provided by the Trustee. The VE Defense Cost Reimbursement



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shall be paid by wire transfer or electronic funds transfer (EFT) to such payee as designated by
the VE Parties, pursuant to instructions to be provided by the VE Parties. The Yost Defense
Cost Reimbursement shall be paid by wire transfer or electronic funds transfer (EFT) to Yost,
pursuant to instructions to be provided by the Yost.

         3.     Settlement Effective Date. (a) The “Settlement Effective Date” as it relates to the
VE Parties, Yost and National Union shall be the date on which the last of the following occurs:
(i) this Settlement Agreement has been fully executed, (ii) the Trustee has received the Insurance
Settlement Payment and the THLee Defense Cost Reimbursement in good funds, (iii) the VE
Parties’ designated payee has received the VE Defense Cost Reimbursement in good funds, (iv)
Yost has received the Yost Defense Cost Reimbursement in good funds, and (v) the Approval
Order has become a final and non-appealable order, (b) The “Settlement Effective Date” as it
relates to the THLee Parties shall be the date on which the last of the following occurs: (i) this
Settlement Agreement has been fully executed, (ii) the Trustee has received the Insurance
Settlement Payment, the THLee Defense Cost Reimbursement, and the THLee Contribution in
good funds, and (iii) the Approval Order has become a final and non-appealable order.

        4.      Dismissal of Lawsuit. Within five (5) days after the clearance of all payments to
Plaintiff pursuant to paragraph 2, Plaintiff shall dismiss the Adversary Proceeding with prejudice
as to all defendants therein and without costs to any of the Parties, and shall as promptly as
practicable, but in any event within three (3) days after such dismissal, provide notice of such
dismissal to counsel for the defendants.

         5.      Release by Trustee. Effective on the Settlement Effective Date, except for the
obligations contained in or reserved by this Settlement Agreement, the Trustee, solely in his
capacity as Trustee, and not in any individual or other capacity, on behalf of the Debtors and
their estates (the “Estate Releasors”) shall be deemed to have irrevocably and unconditionally,
fully, finally, and forever waived, released, acquitted and discharged each of the THLee Parties,
the VE Parties, and Yost, and their respective Related Parties3 and Transferees4 (collectively, the
“Non-Debtor Parties”), from any and all claims, manner of actions, causes of action, suits, costs,
debts, liabilities, obligations, dues, sums of money, accounts, reckonings, bonds, bills,
specialties, covenants, contracts, controversies, agreements, promises, variances, trespasses,
damages, judgments, executions and demands whatsoever, of whatever kind or nature, whether
3
 “Related Parties” means, each of the following, in each case only in its capacity as such: heirs, predecessors,
successors, affiliates, assigns, subsidiaries, direct and indirect equity holders, members (including managing
members), directors, managers, officers, principals, employees, partners, trusts, trustees, independent contractors,
agents, representatives, managed accounts or funds, agents, professionals, consultants, financial advisors, attorneys,
accountants, investment bankers, and other professional advisors and any other Individual Insured as defined in the
Insurance Policies.
4
 “Transferees” means the initial transferees of the Sale Proceeds, and any immediate or mediate transferees of any
such initial transferee. For the avoidance of doubt, Transferees include the following persons, trusts and entities:
The AV Family Office Trust Dated 11/26/1982, as amended; VEC, LLC, a Michigan limited liability company; all
descendants of Archie A. Van Elslander and their spouses, and any trusts or limited liability companies for their
benefit; limited liability companies owned all or in part by Mary Ann Van Elslander or trusts created by her or for
her benefit; Fixed Income Fund 13, LLC, Global Equity Fund 13, LLC, Private Equity Fund 13, LLC, and Private
Equity Fund 13-V2, LLC, each a Delaware limited liability company; the A. A. Van Elslander Foundation; the Van
Elslander Family Foundation; MAV13, LLC, a Michigan limited liability company; and all of the trustees, officers,
directors, employees, and consultants for any of the above-listed parties.


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known or unknown, suspected or unsuspected, in law or equity, which any of the Estate
Releasors has, has had, may have or may claim to have against each of the Non-Debtor Parties
arising from or relating to the Adversary Proceeding, the Adversary Claims, the Insurance
Policies, the THLee Claims, the THLee Parties’ ownership or management of the Debtors, or
which otherwise relate in any manner to the pre-petition and post-petition relationships among
the Debtors and their estates and the Non-Debtor Parties, or arising under the Bankruptcy Code,
or related to the Debtors’ bankruptcy cases, whether asserted or not, without limitation. For the
avoidance of doubt, the tolling agreement dated as of January 19, 2023, by and among the
Trustee and the THLee Parties shall be terminated as of the Settlement Effective Date. Nothing
in this paragraph releases (a) any Party from its obligations under this Settlement Agreement; or
(b) any Party from its liability for breach of any term, warranty, or representation in this
Settlement Agreement.

        6.      Release by Non-Debtor Parties. Effective on the Settlement Effective Date,
except for the obligations contained in or reserved by this Settlement Agreement, the Non-
Debtor Parties shall be deemed to have irrevocably and unconditionally, fully, finally, and
forever waived, released, acquitted and discharged each of the Estate Releasors, the THLee
Parties, the VE Parties, and Yost from any and all claims, manner of actions, causes of action,
suits, costs, debts, liabilities, obligations, dues, sums of money, accounts, reckonings, bonds,
bills, specialties, covenants, contracts, controversies, agreements, promises, variances,
trespasses, damages, judgments, executions and demands whatsoever, of whatever kind or
nature, whether known or unknown, suspected or unsuspected, in law or equity, which any of the
Non-Debtor Parties has, has had, may have or may claim to have against each of the Estate
Releasors arising from or relating to the Adversary Proceeding, the Adversary Claims, the
Insurance Policies, the THLee Claims, or which otherwise relate in any manner to the pre-
petition and post-petition relationships among the Debtors and their estates and the Non-Debtor
Parties, or arising under the Bankruptcy Code, or related to the Debtors’ bankruptcy cases,
whether asserted or not, without limitation. Nothing in this paragraph releases (a) any Party
from its obligations under this Settlement Agreement; or (b) any Party from its liability for
breach of any term, warranty, or representation in this Settlement Agreement.

        7.      Estates’ Release of National Union. Upon clearance of the Insurance Settlement
Payment, the THLee Defense Cost Reimbursement, the VE Defense Cost Reimbursement, and
the Yost Defense Cost Reimbursement, except for the obligations contained in or reserved by
this Settlement Agreement, the Estate Releasors fully release and forever discharge National
Union, together with its respective predecessors, successors, affiliates, and assigns, and all
persons acting by, through or under them, from all known and unknown claims, liabilities,
obligations, promises, agreements, controversies, damages, actions, causes of action, suits,
rights, demands, costs, losses, debts, penalties, fees and expenses (including attorneys’ fees and
costs), of any nature whatsoever, whether or not apparent or yet to be discovered, arising from or
relating to (a) the Insurance Policies; (b) the Adversary Proceeding, the Adversary Claims, the
THLee Claims, the THLee Parties’ ownership or management of the Debtors, or which
otherwise relate in any manner to the pre-petition and post-petition relationships among the
Debtors and their estates and the Non-Debtor Parties, or arising under the Bankruptcy Code, or
related to the Debtors’ bankruptcy cases, whether asserted or not, without limitation under the
Insurance Policies or any other insurance policy which is a predecessor or successor of any
Insurance Policy. Notwithstanding the foregoing, the Estate Releasors reserve all rights, claims


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and defenses in connection with any proof of claim filed by National Union or its affiliates
against any Debtor.

       8.     No Admissions. This Settlement Agreement is not and shall not in any way be
construed as an admission by the Parties of any allegations made in connection with the
Adversary Proceeding, the Adversary Claims, the Insurance Policies, or the THLee Claims.

       9.     Expenses. Except as otherwise set forth herein, the Parties shall bear their own
costs, expenses, and attorneys’ fees incurred to date in connection with this Settlement
Agreement. In the event of any dispute in connection with the enforcement of this Settlement
Agreement, the prevailing Party shall be entitled to its reasonable attorneys’ fees, costs, and all
necessary disbursements and out-of-pocket expenses, whether statutorily approved or non-
approved costs, incurred in connection with such action or proceeding, as determined by the
Bankruptcy Court.

        10.      Settlement Approval Procedures. The Parties shall work in good faith to submit a
mutually agreeable motion for approval of this Settlement Agreement. The Trustee shall be
primarily responsible for preparing all necessary materials, and shall circulate drafts of such
materials to other Parties to this Settlement Agreement at least five days prior to the intended
filing date for their prompt review and consent, such consent not to be unreasonably withheld.

       11.      Miscellaneous.

                a.      The Parties hereto agree that each provision of this Settlement Agreement
is an integral part of the settlement contemplated by the Parties to this Settlement Agreement,
and that, if any provision of this Settlement Agreement is determined by a court of competent
jurisdiction to be illegal, invalid, or unenforceable, this Settlement Agreement shall be null and
void unless otherwise agreed by the Parties in writing.

                 b.     The Parties hereto have participated jointly in the negotiation and drafting
of this Settlement Agreement. In the event an ambiguity or question of intent or interpretation
arises, this Settlement Agreement shall be construed as if drafted jointly by the Parties hereto and
no presumption or burden of proof shall arise favoring or disfavoring any party by virtue of the
authorship of any provisions of this Settlement Agreement.

               c.      Neither this Settlement Agreement, nor any statement made or action
taken in connection with the negotiation of this Settlement Agreement, shall be offered or
received in evidence or in any way referred to in any legal action or administrative proceeding
among or between the Parties hereto, other than as may be necessary (i) to obtain approval of and
to enforce this Settlement Agreement (including the mutual releases contained herein) or (ii) to
seek damages or injunctive relief in connection therewith.

               d.      Each of the Parties hereto shall execute and deliver any and all additional
papers, documents, and other assurances, and shall do any and all acts and things reasonably
necessary or appropriate in conjunction with the performance of each of the Parties’ respective
obligations hereunder.




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                e.     No provision of this Settlement Agreement is intended to confer any
rights, benefits, remedies, obligations, or liabilities hereunder upon any person other than the
Parties hereto and their Related Parties and Transferees.

              f.      This Settlement Agreement shall be governed by and construed in
accordance with the law of the state of Delaware without regard to any choice of law provisions.

               g.     This Settlement Agreement may be signed in counterpart originals and
delivered by facsimile or email, which, when fully executed, shall constitute a single original.

               h.      The United States Bankruptcy Court for the District of Delaware shall
retain exclusive jurisdiction (and the Parties expressly consent to such jurisdiction) with respect
to any disputes arising from or related to, or other actions to interpret, administer, or enforce the
terms and provisions of, this Settlement Agreement.

               i.      Each person or entity who executes this Settlement Agreement on behalf
of another person or entity represents and warrants that he, she, or it is duly authorized to execute
this Settlement Agreement on behalf of such person or entity, has the requisite authority to bind
such person or entity, and such person or entity has full knowledge of and has consented to this
Settlement Agreement. The representations and warranties set forth in this paragraph shall
survive execution of this Settlement Agreement.

                 j.      In executing the Settlement Agreement, each of the Parties represents and
warrants, for itself, that (i) it does so with full knowledge of its available rights, (ii) it is not
relying and has not relied upon any representations made by any person with regard to the
Settlement Agreement, other than any written representations and agreements contained herein,
(iii) it has had available to it such information as it or its counsel considered necessary to making
an informed judgment concerning the Settlement Agreement, and (iv) it has conducted such
investigation as it or its counsel deemed appropriate regarding the settlement and its rights and
asserted rights in connection with the matters that are the subject of the Settlement Agreement.

               k.     The Parties acknowledge that this Settlement Agreement and any
individual agreements by any Party and National Union constitute the entire agreement between
the Parties with respect to the subject matter hereof, and all prior agreements, negotiations and
understandings with respect to the subject matter hereof are canceled and superseded by this
Settlement Agreement.

              l.     This Settlement Agreement shall not be modified, altered, amended, or
vacated without the written consent of all Parties, with such modification approved by an order
of the Bankruptcy Court.

              m.      This Settlement Agreement shall inure to the benefit of and be binding
upon the successors and assigns of the Parties hereto and the Non-Debtor Parties.

                n.      The headings of all sections of this Settlement Agreement are inserted
solely for the convenience of reference and are not a part of and are not intended to govern, limit,
or aid in the construction or interpretation of any term or provision hereof.



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        IN WITNESS WHEREOF, the Parties have executed this Settlement Agreement, as of
the date first above written.



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